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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                            BILLINGS DIVISION


 UNITED STATES OF AMERICA,
                                                   CR 20-75-BLG-SPW
                       Plaintiff,

 vs.                                                ORDER

 ISAAC CLYDE MARTINEZ,

                       Defendant.

       Upon the Court’s Own Motion,

       IT IS HEREBY ORDERED that sentencing currently scheduled for

Thursday, September 30, 2021 at 10:30 a.m., is VACATED and reset to

commence on Wednesday, October 13, 2021 at 10:30 a.m. in the James F. Battin

U.S. Courthouse, Billings, Montana.

       The Clerk shall forthwith notify the parties of the making of this Order.

       DATED this 30th day of September, 2021.




                                              SUSAN P. WATTERS
                                              United States District Judge



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